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             EXHIBIT A
      (December 13,2016 CBCA Order)
                                1:16-cv-00825-JMC                Date Filed 01/03/17                            Entry Number 48-1                          Page 2 of 3




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                   DATE:                       December 13, 2016

                   FROM:                       JUDGE ALLAN H. GOODMAN,202-606-8823
                                               Celisa Moore, Sr. Legal Staff Assistant

                   CBCA:                       5287 - SAVANNAH RIVER NUCLEAR SOLUTIONS LLC v. DOE

                   SUBJECT:                    ORDER [re: Board's receipt of appellant's Notice of U.S. District Court Order and Opinion]

                   TO:                         'APPELLANT]
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                                     December 13, 2016


                                         CBCA 5287


                  SAVANNAH RIVER NUCLEAR SOLUTIONS, LLC,

                                                                 Appellant,

                                              v.

                              DEPARTMENT OF ENERGY,

                                                                 Respondent.

      Karen L. Manos and Erin N.Rankin ofGibson,Dunn & Crutcher,LLP, Washington,
DC, counsel for Appellant.

      Lucy M.Knowles, Mary-Ellen Noone,Ralf Wilms and Jennifer B.Farmer, Office of
Chief Counsel, Department of Energy, Aiken, SC; and Sky W. Smith, Office of Chief
Counsel, Department of Energy, counsel for Respondent.

GOODMAN,Board Judge.

                                          ORDER

       The Board has received appellant's Notice of U.S, District Court Order and Opinion
in Related Case. The Court's Order and Opinion states on page 61 that the Court will seek
an advisory opinion from the CBCA "by separate order and referral." Accordingly, when the
Board receives the Court's order and referral,the matter will be docketed separately from this
appeal and a conference will be scheduled with counsel to discuss further proceedings.



                                                         ALLAN H. GOODMAN
                                                         Board Judge
